Case 1:23-cr-00024-MKB Document 26 Filed 02/26/24 Page 1 of 4 PagelD #: 217

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February 26, 2024

Chief Judge Margo K. Brodie

USS. District Court, Eastern District
225 Cadman Plaza East

Brooklyn, NY 11201

Re: United States v. Shakeem Rankin
Criminal Docket No. 23-0024 (MKB)

Dear Honorable Margo Brodie:

As you may recall, the undersigned is counsel to Mr. Shakeem Rankin, the Defendant in
the above referenced matter. On Wednesday February 21, 2024, at the close of the Suppression
Hearing, your Honor directed both sides to submit relevant case law in relation to the voluntariness
of a suspect’s statements to law enforcement while in his home, in order to aid the Court in its
determination of a custodial interrogation.

What follows is the Defense submission:

e United States v. Kourani, 16 F.4th 345 (2d Cir. 2021)

To evaluate the voluntariness of a suspect's statements to police officers, the Second Circuit
looks at the "totality of the circumstances," including "(1) the characteristics of the accused,
(2) the conditions of interrogation, and (3) the conduct of law enforcement officials."

e United States v. Ali, 86 F.3d 275 (2d Cir, 1995)

An accused is in "custody' when, in absence of actual arrest, law enforcement officials act
or speak in manner that conveys the message that they would not permit the accused to
leave. Herein, the court held that a reasonable person in defendant's shoes would not have
felt free to leave when he was asked to step away from the boarding area at an airport, his
travel documents were removed, and he was surrounded by seven officers with visible

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Case 1:23-cr-00024-MKB Document 26 Filed 02/26/24 Page 2 of 4 PagelD #: 218

handguns. Mr. Ali was therefore in "custody," and he should have received Miranda
warnings, especially where two officers testified that they would not have allowed Ali to
leave had he tried.

e United States vy. FNU LNU, 653 F.3d 144, 153 (2d Cir. 2011)

Relevant considerations include: (1) the interrogation's duration, (2) its location (e.g., at
the suspect's home, in public, in a police station, or at the border), (3) whether the suspect
volunteered for the interview, (4) whether the officers used restraints, (5) whether weapons
were present and especially whether they were drawn, and (6) whether officers told the
suspect he was free to leave or under suspicion.

e United States vy. Whyte No. 21-cr-00390 (JMA) (ARL), 2023 WL 8096926 (E.D.N.Y.
Nov. 21, 2023)

"Only if the totality of the circumstances surrounding the interrogation reveal both an
uncoerced choice and the requisite level of comprehension may a court properly conclude
that Miranda rights have been waived." at *7 (internal quotation marks and citation
omitted). The comprehension was high in Whyte because Mr. Whyte had already been
convicted of 5 felonies. He was "well versed in the criminal justice system." at *2.

e United States v. Butt, No. 18-CR-00087 (NSR), 2019 WL 479117 (S.D.N.Y Feb. 7, 2019)

The Court held that the suspect’s statements were not voluntary: Sixteen officers spread
throughout his home and restricted his movement to the living room couch, with one officer
monitoring him and supervising him constantly. His wife was relegated to a different room
and kept under the supervision of another officer, thereby depriving Butt of access to his
only potential confidante. Butt also had no access to his phone or computer. There was
credible testimony that the officers were not allowing but to speak with his wife during the
search. The officers disabled Butt’s surveillance camera system. Even though this did not
constitute a due process violation, it is an objective factor that would contribute to a
reasonable person feeling a significant restriction on their freedom of movement. Butt had
no access to communication channels, could not speak to any of his confidantes, and had
no safe space within his home where he could retreat. The Court found that he was made
to be as isolated and cut off from the outside world within his home as he would have been
had he been in some isolated police cite.

e United States v. Carver, 22-CR-316 (JS), 2024 WL 36988, at *8 (E.D.N.Y. Jan. 3, 2024),
citing United States v. Newton, 369 F.3d 659, 672 (2d Cir. 2004)

Even if police officers in a suspect's home tell the suspect he is free to leave, that is not
freedom. He is home; he has nowhere else to go. If he leaves his home, police officers
Case 1:23-cr-00024-MKB Document 26 Filed 02/26/24 Page 3 of 4 PagelD #: 219

remain in his home. The question is whether a reasonable person would understand his
freedom of action is essentially, if not literally, curtailed to a degree associated with formal
arrest. In Carver, no weapons were drawn or displayed by law enforcement, and officers
did not comer him and isolate him in one room. The court ruled that Mr. Carver was not in
custody.

e United States vy. Gabriel, No.CR 21-152 (IMA)(AYS) 2023 WL 2412178 (E.D.N.Y. Feb.
9. 2023)

Police officers made a "tactical" and "dynamic" entry into Mr. Gabriel’s home, breaking
into a door or prying it open. Tactical gear includes helmets and tactical vests. This
presented a "sudden, jarring and likely frightening situation for all members of the
household." at *7. The court held that Mr. Gabriel was in custody and that officers were
required to Mirandize him.

e United States v. Dzionara-Norsen, No. 21-454-cr, 2024 WL 191803 (2d Cir. Jan. 18,
2024)

The suspect was interviewed just outside his apartment door and the Court ruled that the
interview, which was recorded, lasted for about eighteen minutes and took place at
Dzionara-Norsen's apartment just outside his apartment door; the agents appeared in plain
clothes, did not display handcuffs, badges, or weapons, spoke in a conversational tone, and
did not make any threats or promises; and Dzionara-Norsen was not physically restrained,
at no point asked for an attorney or to stop the interview, and voluntarily returned to resume
the interview twice after returning inside to his apartment. Under those circumstances, a
reasonable person in Dzionara-Norsen's position would have understood that he was free
to leave-indeed, he left the interview to retrieve items from his apartment twice with no
repercussions. By contrast, in Mr. Rankin’s case he was escorted by two/three agents to the
back bedroom, cornered by 2 FBI agents, one of whom blocked the door so the defendant
could not leave, and when that agent moved from the doorway, another agent replaced him.
The officers entered the home with their guns drawn, then put the guns in their holsters
with the guns still visible. They separated the defendant from his mother and his cellphone
so he could not communicate with anybody. The officers interrogated the defendant for 52
minutes.

e United States v. Soto, No. 13-CR-76 (MKB), 2014 WL 3695990, at *5 (E.D.N.Y July
24, 2014)

The officers' firearms were not displayed or visible and there was no evidence in the record
that the officers’ body language or tone was of an aggressive or intimidating nature. The
court held that the defendant was not in custody. The "ultimate inquiry" for determining
Miranda custody is whether a reasonable person in Defendant's position would have

Case 1:23-cr-00024-MKB Document 26 Filed 02/26/24 Page 4 of 4 PagelD #: 220

considered himself subject to a restraint on freedom of the degree associated with formal
arrest. United States v. Wilson, 100 F. Supp. 3d 268,278 (E.D.N.Y. 2015). "For the short
period of time prior to Defendant's arrest, lasting approximately fifteen minutes, only two
CBP officers were in the room with him, meaning the atmosphere was not significantly
‘police dominated." Id at 279. "Defendant was not placed in handcuffs, which are the
‘hallmark’ of formal arrest, until he was actually formally arrested.

e United States v. Carr, 63 F. Supp.3d 226, 236 (E.D.N.Y 2014)

Carr was physically removed from the public screening area and escorted by four armed
officers to a separate, private pat-down room. (Tr. 84:22-85:18, 104:5-10.) He was directed
to sit on a bench with his back to the wall and three of the four officers who escorted him
into the room surrounded him. (Tr. 42:19-43:4, 91:18, 93:6-7.) While no handguns were
drawn, and even assuming that Carr was not immediately handcuffed when he was brought
into the pat-down room, the totality of the circumstances, including Carr's removal from
the public area to the private pat-down room, the manner in which he was escorted by two
officers, each with both hands on Carr, and the CBP-dominated atmosphere in the room,
strongly suggest a degree of restraint associated with formal arrest.

We thank the Court for its time and attention to this matter.

Respectfully submitted,

